d 04/22/19 12:28:04 Page 1of3

Debtor 4 MILES RobECT YWIiclLiAms } F] LL. E DD

First Name Middla Name Last Name

at Ad this information to identify your case:

 

Debtor 2
(Spouse, iffiling) First Name Middle Nama Last Name APR 3 9 2019

United States Bankruptcy Court for the: MIDDLE pistrict of Nuc, aC,

STEPHANIE J, BUTLER, CLE
— U.S. BANKRUPTCY COURT Cesk if this is an
EASTERN DISTRICT OF yo. 2™7ended filing

 

 

 

Official Form 103B
Application to Have the Chapter 7 Filing Fee Waived 125

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number
(if known).

§ Tell the Court About Your Family and Your Family’s Income

 

 

Your family includes you, your

spouse, and any dependents listed

on Schedule J: Your Expenses [Your spouse
(Official Form 106J).

1. What is the size of your family? Chegk all that apply:
You

Your dependents

How many dependents? Total number af people
-2, Fillin your family’s average :
; monthly income. , “That person's average =
=-- monthly net income - °°
Include your spouse's income if vz, (take-home-pay)--:. -
your spouse is living with you, even Add your income and your spouse's income. Include the
if your spouse is not filing. value {if known} of any non-cash govemmental assistance yoy $ o

. : that you receive, such as food stamps {benefits under the
Do not include your spouse's Supplemental Nutrition Assistance Program) or housing
income if you are separated and subsidies.

your spouse is not filing with you. if you have already filled out Schedule f: Your Income, see Your spouse... +
line 10 of that schedule.

 

 

 

Subtotal... $ 0
Subtract any non-cash governmental assistance that you — 3 ©
included above,
Your family’s average monthly net income Total... ceeccees $

 

 

3. Do you receive non-cash Ave
overnmental assistance? :
q Yes. Describe...

 

Type of assistance

 

 

 

 

 

 

vw

4. Do you expect your family’s mm
average monthly net income to :
increase or decrease by more than [_]ves. ExplAlN, srssssssen

10% during the next 6 months?

 

 

 

5, Tell the court why you are unable to pay the filing fee in
installments within 120 days. If you have some additional
circumstances that cause you to not be able to pay your filing
fee in installments, explain ther.

 

 

 

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First Name Middle Name Last Name

ra Tell the Court About Your Monthly Expenses

6. Estimate your average monthly expenses.

Include amounts paid by any government assistance that you $ O

reported on line 2,

 

 

If you have already fillad out Schedule J, Your Expenses, copy
line 22 from that farm,

i.

7. Do these expenses cover anyone ro
who is not included in your family :
as reported in line 1? [ ]yes, Identify who...

 

 

 

 

 

Pa
8. Does anyone other than you Wy
regularly pay any of these No
expenses? [_ ]ves. How much do you regularly receive as contributions? $ monthly |

If you have already filled out
Schedule I: Yeur income, copy the
total from line 11,

9, Do you expect your average Aho

monthly expenses to increase or .
decrease by more than 10% during L ves. Explain
the next 6 months?

ro Tell the Court About Your Property

If you have already filled out Schedule A/B: Property (Official Form 7064/8) attach copies to this application and go to Part 4.

 

 

 

 

 

“10. How much cash do you have?
Examples: Money you have in
your wallet, in your home, and on Cash: sO
hand when yeu file this application

 

 

 

11. Bank accounts and other deposits Institution name: Amount:
of money? Serene —_—_—
Examples: Checking, savings, Checking account: $ O
money market, or other financial
accounts; certificates of deposit: Savings account: sO
shares in banks, credit unions,
brokerage houses, and other Other financial accounts: sO

 

similar institutions. [f you have

more than one account with t 0
ate unt with the Other financial accounts: $

same institution, list each. Do nat
include 4071{k) and IRA accounts.

 

“42. Your home? (if you own it outright or

 

 

are purchasing it} Number Street Current value: $ .
Examples: House, condominium, Amount you owe
manufactured home, or mobile home City State ZIP Code on mortgage and §

liens:

13. Other real estate?
Current value: §

 

‘Number Street
Amount you owe

on mortgage and = §

 

 

City State ZIP Code liens:
44. The vehicles you own? Make:
Examples: Cars, vans, trucks, Model: Current value: §
sports utility vehicles, motorcycles, Year: Amount you owe
tractors, boats . 7 on liens: $
Mileage ,
Make:
Mode — Current value: $
Year:

Amount you owe
Mileage on liens: $

 

Official Form 103B Application to Have the Chapter 7 Filing Fee Waived page 2
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First Name Middle Name Last Name

 

15, Other assets? Describe the other assets:

Current value: $ oO

 

Do not include household items
and clothing.

 

CG

Amount you owe
on liens:

 

 

 

16. Money or property due you? Who owes you the money or property?

Examples: Tax refunds, past due
or lump sum alimony, spousal
support, child support,

 

maintenance, divorce or property
settlements, Social Security
benefits, workers’ compensation,
personal injury recovery

Pare a | Answer These Additional Questions
17, Have you paid anyone for wa

services for this case, including
filling out this application, the
bankruptcy filing package, or the
schedules?

[Jan aftomey

| Someone else

L] Yes, Whom did you pay? Check aif that apply:

How much is owed? Do you believe you will likely receive.

payment in the next 180 days?
: 0 [ho

0 [_Tves. Explain:

 

 

 

 

How much did you pay?

[Ja bankruptcy petition preparer, paralegal, or typing service

 

18. Have you promised to pay or do ci No
you expect to pay someone for
services for your bankruptcy
case? [Jan attorney

[Ja bankruptcy petition preparer, paralegal, or typing service

[_|ves. Whom do you expect to pay? Check aiff that apply:

How much do you
expect to pay?

 

] Someone else

 

4
19. Has anyone paid someone on Ano

 

 

 

 

your Pehalf for services for this [_] Yes. Who was paid on your behalf? Who paid? How much did
Check ail that apply: Check aif that apply: someone else pay?
[Jan attorney Parent $
[Ja bankruptey petition preparer, Brother or sister
paralegal, or typing service Friend
[] Someone else Pastor or clergy
/ Someone else
20, Have you filed for bankruptcy [Ano
within the last 8 years? : [] Yes. District When Case number -
MM/ OD YYYY
District When Case number
MM DDI YYYY¥
District When Case number
MM DD! YYYY

that the jf ) I heh i application is true and correct.

«TM

yh [ba 1 * os of Debtor 2

Date _O' [ 5 ol Date

MM / BD IYYYY MM / DD /YYYY

Official Form 1038

By signing here under penalty of le ry, [declare that | cannot afford to pay the filing fee either in full or in installments. [ also declare

Application to Have the Chapter 7 Filing Fee Waived page 3
